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13                        UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA

15   DOUGLAS J. KEIZER and                CASE NO ǣ 5:17-cv-01663-MRW
16   JEANETTE M. KEIZER
17         Plaintiffs,
18                                             ORDER GRANTING JOINT
     v.                                        STIPULATION AND ORDER FOR
19                                             DISMISSAL WITH PREJUDICE
20   FCA US LLC, a Delaware Limited
     Liability Company; and DOES 1             Honorable Judge Michael R. Wilner
21   through 10, inclusive,
22
                  Defendants.
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           [PROPOSED ORDER] GRANTING JOINT STIPULATION FOR DISMISSAL
     Case 5:17-cv-01663-MRW Document 68 Filed 04/27/20 Page 2 of 2 Page ID #:1213



 1                                           ORDER
 2         The stipulation is approved. The entire action is hereby dismissed with
 3
     prejudice. The Court retains jurisdiction over the matter, including any Motions to
 4
 5   Enforce Settlement.
 6         IT IS SO ORDERED.
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 9   DATED: April 27, 2020                         ______________________________
                                                    HONORABLE JUDGE MICHAEL
10                                                  R. WILNER
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            [PROPOSED ORDER] GRANTING JOINT STIPULATION FOR DISMISSAL
